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                         UNITED STATES COURT OF APPEALS
                                       FOR THE
                                  SECOND CIRCUIT
                     ____________________________________________

         At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on
the 1st day of August, two thousand twenty-four,

_______________________________________

EIG Energy Fund XIV, L.P., EIG Energy Fund XIV-A,           ORDER
L.P., EIG Energy Fund XIV-B, L.P., EIG Energy Fund          Docket No. 24-969
XIV (Cayman), L.P., EIG Energy Fund XV, L.P., EIG
Energy Fund XV-A, L.P., EIG Energy Fund XV-B,
L.P., EIG Energy Fund XV (Cayman), L.P.,

             Plaintiff - Appellants,

  v.

Keppel Offshore & Marine LTD.,

           Defendant - Appellee.
_______________________________________


       Counsel for Appellee Keppel Offshore & Marine LTD. has filed a scheduling notification
pursuant to the Court's Local Rule 31.2, setting October 18, 2024, as the brief filing date.

        It is HEREBY ORDERED that Appellee brief must be filed on or before October 18,
2024. If the brief is not filed by that date, the appeal will proceed to a merits panel for
determination forthwith, and Appellee will be required to file a motion for permission to file a
brief and appear at oral argument. A motion to extend the time to file the brief or to seek other
relief will not toll the filing date. See Local Rule 27.1(f)(1); cf. RLI Insurance Co. v. JDJ
Marine, Inc., 716 F.3d 41, 43-45 (2d Cir. 2013).


                                                      For The Court:
                                                      Catherine O'Hagan Wolfe,
                                                      Clerk of Court
